[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION (RE: MOTION FOR SUMMARY JUDGMENT)
The defendant's Motion for Summary Judgment requires that the Court find that the plaintiff's operations in Connecticut did not constitute the transaction of business within this state and that, therefore, it was not required to have a Certificate of Authority to do business within this state as required by Conn. Gen. Stat. Sec. 33-396 and Sec. CT Page 1034 33-412.
The affidavits submitted by both parties clearly show a factual dispute as to whether or not the plaintiff was transacting business in this state. This is not, then, a matter for summary judgment. Nor does the recently acquired Certificate of Authority lead the Court to inescapably conclude there is no issue of fact left to be determined.
The case relied on by the defendant, Country Club Soda Co., Inc. v. Harold Weinberg, 3 Conn. Sup. 237 (1935), was not a summary judgment matter, but an injunction where, it seems, the Court took testimony from which it should determine whether or not the plaintiff was doing business in Connecticut. Under the Motion for Summary Judgment procedure, this Court cannot make such a determination.
The Motion for Summary Judgment is denied.
KLACZAK, J.